      Case 1:21-cv-00076-DWM-TJC Document 42 Filed 12/14/21 Page 1 of 2



                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                           BILLINGS DIVISION


BRANDY MORRIS and BRENDA                         CV 21-76-BLG-DWM-TJC
GRAY, on behalf of themselves and all
others similarly situated,                       FINDINGS AND
                                                 RECOMMENDATION OF
                    Plaintiffs,                  U.S. MAGISTRATE JUDGE
vs.

FIRST INTERSTATE BANK,

                    Defendant.

      Currently pending before the Court is Plaintiffs’ Motion to Remand (Doc.

26), which Defendant initially opposed (Doc. 35). Defendant has now withdrawn

its opposition to the motion, and indicates it does not oppose an order remanding

this case to the Montana Thirteenth Judicial District Court of Yellowstone County.

(Doc. 41.)

      Plaintiff’s Motion to Remand now being unopposed, and good cause

appearing, IT IS HEREBY RECOMMENDED that Plaintiff’s Motion to

Remand (Doc. 26) be GRANTED.

      NOW, THEREFORE, IT IS ORDERED that the Clerk shall serve a copy

of the Findings and Recommendations of United States Magistrate Judge upon the

parties. The parties are advised that pursuant to 28 U.S.C. § 636, any objections to

the findings and recommendations must be filed with the Clerk of Court and copies
     Case 1:21-cv-00076-DWM-TJC Document 42 Filed 12/14/21 Page 2 of 2



served on opposing counsel within fourteen (14) days after service hereof, or

objection is waived.

      DATED this 14th day of December, 2021.

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                                      TIMOTHY J. CAVAN
                                      United States Magistrate Judge
